                                                                               ORDER:
                                                                               Motion granted. The Bond
                                                                               Revocation Hearing is reset
                                                                               to October 2, 2013, at
                         IN THE UNITED STATES DISTRICT COURT
                                                                               11:00 a.m.
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )                            U.S. Magistrate Judge
        v.                                   )       CASE NO. 3:13-00097-17
                                             )       JUDGE SHARP
                                             )       MAGISTRATE JUDGE KNOWLES
AMY NICOLE MURPHY                            )

                         DEFENDANT AMY MURPHY’S MOTION TO
                          CONTINUE THE REVOCATION HEARING

        Defendant Amy Nicole Murphy, by and through undersigned counsel, files this motion

requesting a continuance until Wednesday, October 2, 2013 as to the Petition for Action on

Conditions of Pretrial Release filed on August 9, 2013 (Docket Entry No. 228). A hearing is

presently set for August 26, 2013 at 1:30 p.m.

        For reason, undersigned counsel would show the following:

        1. Ms. Murphy is currently employed at the Amazon Distribution Center working four

days a week from 7:30 a.m. to 6:00 p.m. She works on Monday, Tuesday, Thursday and Friday.

        2. Ms. Murphy tested positive for marijuana on June 10, 2013 from a urine sample given

on June 7, 2013, which was approximately four days after her arrest and initial appearance on

June 3, 2013. While undersigned counsel is not an authority on the rate in which marijuana

dissipates from the human body, it is believed that marijuana can remain in a person’s system for

up to thirty days. Assuming that is true, it would be consistent that her use of marijuana was

prior to her arrest, and not after it.

        3. Ms. Murphy also tested positive for oxycodone on June 10, 2013, although she had a

prescription from a physician for the drug based on a kidney disease.


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